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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

SARAH MAYHEW,                                        §
                                                     §
                                                     §   CIVIL ACTION NO. 6:18-CV-00008-RWS
                 Plaintiff,                          §
                                                     §
v.                                                   §
                                                     §
WELLS FARGO BANK, N.A.,                              §
                                                     §
     .
                 Defendant.                          §


                                        FINAL JUDGMENT
         Before the Court is the parties’ Stipulation of Dismissal with Prejudice (Docket No. 18).

Accordingly, it is hereby ORDERED that this matter is DISMISSED WITH PREJUDICE.

         All pending motions are DENIED AS MOOT.

         All costs are to be borne by the party that incurred them.

         The Clerk of the Court is directed to close this case.

         SIGNED this 9th day of July, 2018.



                                                             ____________________________________
                                                             ROBERT W. SCHROEDER III
                                                             UNITED STATES DISTRICT JUDGE
